Case 1:01-cv-12257-PBS Document 6639-9 Filed 11/03/09 Page 1 of 9

EXHIBIT H

21

22

Case 1:01-cv-12257-PBS Document 6639-9 Filed 11/03/09 Page 2 of 9

UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF MASSACHUSETTS

IN RE: PHARMACEUTICAL ) MDL NO. 1456
INDUSTRY AVERAGE WHOLESALE ) CIVIL ACTION
PRICE LITIGATION ) 01-CV-12257-PBS

THIS DOCUMENT RELATES TO )
U.S. ex rel. Ven-A-Care of ) Judge Patti B. Saris

the Florida Keys, Inc., )

vs. ) Chief Magistrate
Abbott Laboratories, Inc., ) Judge Marianne B.
No. 06-CV-11337-PBS ) Bowler

(Captions continued on following pages)
VOLUME I
DEPOSITION OF VEN-A-CARE (T. MARK JONES)
Videotaped deposition of T. Mark Jones, held at

the Law Offices of Hunton & Williams, LLP, 1111
Brickell Avenue, Suite 2500, Miami, Florida, 33131,
on Tuesday, March 18, 2008, commencing at 9:06 a.m.,
before Donald W. McKay, RMR, CRR, a Notary Public

for the State of Florida.

Mark Jones 3-18-2008

21

22

Case 1:01-cv-12257-PBS Document 6639-9 Filed 11/03/09 Page 3 of 9

101

Q. Do you have an understanding of what
Ven-A-Care's business plan was in 1987?

A, I believe I do.

Q. Can you tell me what was Ven-A-Care's
business plan in 1987.

A. I believe that Ven-A-Care was started
to provide a need or provide a service to
something that was needed in Key West. Key West
-- and Mr. Cobo has testified to this -- had a
large population of HIV patients. You know,
there were a lot of gay men that lived in Key
West. It was a resort for them. And many of
them were very ill, very sick. But the type of
illnesses that they had, because they were
opportunistic infections, they'd move in and out
of hospitals frequently. And a lot of times,
while they were sick, they were ambulatory, they
could function, but they had to go into hospitals
to have medications administered. It was just
cumbersome for them. So Ven-A-Care's pharmacy, a
home infusion pharmacy, was a new concept for Key

West, which allowed myself, other nurses, Luis,

Mark Jones 3-18-2008

Case 1:01-cv-12257-PBS Document 6639-9 Filed 11/03/09 Page 4 of 9

102
to take these and treat these patients in their
homes.

Q. Now, the business aspect of this was,
of course, to start a business in which you
provided those services and generated a profit
from it. Correct?

A. We were a commercial business. We were
billing primarily -- or at least in the very
beginning -- just commercial insurance companies,
yes.

Q. I'm sure that there were also certain
altruistic aspects to that. I'm not trying to
suggest that this was, in any way, inappropriate.
But as a business, Ven-A-Care was looking to make

a profit. Right?

A. Ven-A-Care was a for-profit
corporation.
Q. Can you tell me how was it that Ven-A-

Care in 1987, planned to make a profit from
providing home infusion pharmacy services to
patients in Key West?

A. Well, fundamentally, Ven-A-Care would

Mark Jones 3-18-2008

Case 1:01-cv-12257-PBS Document 6639-9 Filed 11/03/09 Page 5 of 9

285
MR. COOK: Can we go off the record for
just a minute while I rearrange some exhibits.
THE VIDEOGRAPHER: We're going off the
record. The time is 3:43.
(Thereupon, a recess was taken,
after which the following proceedings were had:)
THE VIDEOGRAPHER: We're now back on
the record. Videotape No. 6. The time is 3:56.
(Exhibit Abbott 704 was thereupon
marked.)
BY MR. COOK:
Q. Mr. Jones, I've handed you a copy of
what we've marked Abbott Exhibit 704, which is a
November 4, 1994 letter that you sent to Peter
Barbera from the Office of the Inspector General

in Jacksonville, Florida. Do you see that?

A. I do.

Q. Do you recall writing this letter?
A. Actually writing it, no.

Q. Do you recall this letter?

A. I do recall this letter.

Q. Why did you write Mr. Barbera this

Mark Jones 3-18-2008

Case 1:01-cv-12257-PBS Document 6639-9 Filed 11/03/09 Page 6 of 9

286
letter in November 1994?

A. Peter Barbera was working with Maritza
Howery or Penniston with the OIG audit in
Jacksonville. We had met with her and her boss
out of Atlanta, Jerry Dunham, in February of the
previous year -- no, I'm sorry -- February this
year. I believe it's February of '94. And they
were, I think -- I'm trying to figure out how we
made contact with them. But they were actually
interested in looking at excessive reimbursement
of the TPN program. So we had had conversations
back and forth. And I think this was something
he requested from me, if I had information on
particular drugs and prices. So I responded with
this letter. I have to read it. I haven't read
it in a while.

Q. And when you refer to excessive
reimbursement for TPN, that's the same subject as
your letter to Dr. Vladeck with the toilet seat
in 1997. Right?

A. Yes.

Q. And that's also the same subject as the

Mark Jones 3-18-2008

21

22

Case 1:01-cv-12257-PBS Document 6639-9 Filed 11/03/09 Page 7 of 9

287
overcharges worksheets that we just looked at
that Ven-A-Care submitted to Medicare with its
repayments in 1994. Correct?
A. Ven-A-~Care repaying, yes.
Q. That would have been just before and

just after this letter to Mr. Barbera. Correct?

A. I'm sorry. What was the question? I'm
confused.
Q. 540, 541, and 542 were sent just before

this letter to Mr. Barbera and after this letter
to Mr. Barbera. Correct?

A. Well, yeah, they're within the same
month, couple months.

Q. And you were submitting to Mr. Barbera,
a contract that Ven-A-Care had through a GPO
called CPN/PPO, for the purpose of certain
products. Right?

A. This would be our Abbott contract with
CPN/PPO, yes.

Q. And you attach a copy of that contract.
It appears at the third page of Exhibit 704.

Right?

Mark Jones 3-18-2008

21

22

Case 1:01-cv-12257-PBS Document 6639-9 Filed 11/03/09 Page 8 of 9

288

A. It's the fourth -- well, the cover
sheet is the third, yeah.

Q. Well, the third page is actually the
contract, itself. Right?

A. Um-hmm. Yes.

Q. And then attached to that as Exhibit A
is page 20 of a product list that listed the
products you could purchase under your contract
with Abbott. Right?

A. That's right.

Q. As I understand, the purpose of the
submission to Mr. Barbera was to give Mr. Barbera
the true cost that Ven-A-Care paid for TPN so
that -- and here, I'm referring to the last
paragraph of your letter -- so that the
government could calculate a reasonable overhead
for TPN reimbursement. Right?

A. An overhead consideration in
calculating a reasonable reimbursement for TPN.

Q. And you were attempting to help the OIG
and CMS to determine how much above cost Medicare

should pay for TPN. Right?

Mark Jones 3-18-2008

Case 1:01-cv-12257-PBS Document 6639-9 Filed 11/03/09 Page 9 of 9

A. I think, in this situation, yes.

Q. So again, in this context, in the
context of TPN, Ven-A-Care agrees that it's
appropriate for Medicare to pay providers more
than their cost for the product cost of the TPN.
Right?

MR. BREEN: Objection, form.

THE WITNESS: I think that what this
was focused on, they were looking to see if there
were any types of charge -- how they could come
up with a reasonable reimbursement for TPN that
would cover the preparation of TPN and its
administration.

MR. BREEN: Objection, non-responsive.

I'd ask that the question be read back
to the witness.

(The question referred to was
thereupon read by the reporter as above
recorded.)

BY MR. COOK:
Q. And do you agree with me, Mr. Jones?

A. Well, I thought -- can I hear my

Mark Jones 3-18-2008

